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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff,                Case No. 21-cv-10928
                                               Honorable Denise Page Hood
vs.

$3,840,772.58 U.S. dollars constituting
125 international wire transfers seized
from U.S. correspondent bank, Citibank,
between December 21, 2020 and
January 4, 2021, et al.,

                     Defendants in rem.


          ORDER SEALING EX PARTE DECLARATION IN SUPPORT
                     OF THIRD STATUS REPORT

          The United States of America has applied to this Court for an Order to File

 Under Seal Ex Parte Declaration in Support of Third Status Report, in the above-

 captioned case. Upon consideration of the motion and the entire record herein,

          IT IS HEREBY ORDERED that the Declaration in Support of Third Status

 Report, in the above-entitled proceedings, shall be filed with this Court ex parte

 under seal and shall not be disclosed to any person unless otherwise ordered by this

 Court.

 Dated: June 3, 2024                      s/Denise Page Hood
                                          Honorable Denise Page Hood
                                          United States District Judge
